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                     EXHIBIT 5
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                                                                Terms of Investment

           The following is a summary of the principal terms (“Summary of Terms”) with respect to the proposed
           investment to [Trans Island Airways Group]1 (the “Company”).

           Closing                     Within 30 days of signing this proposal (the “Closing”).

           Securities                  Common stock (or the most senior class of stock) of the Company.

           Investment                  FTX will invest $12 million at the Valuation.

           Secondary Purchase          FTX will purchase $5 million worth of shares from Paul Francis Aranha (CEO of
                                       the Company) at the Valuation.

           Valuation                   Price per share to be calculated based on a post-money valuation of $42.5 million on
                                       a fully-diluted basis, which will include the conversion of all outstanding convertible
                                       instruments.

           Confidentiality             This proposal and any related discussions and correspondence may not be disclosed
                                       by the Company to any party (other than to legal counsel and the accountants of the
                                       Company in order for such persons to render advice in connection with the proposed
                                       transaction, and other than to existing stockholders of the Company) without the
                                       prior written approval of FTX.

           Binding Terms               Except for the provision labeled “Confidentiality”, which is explicitly agreed to be
                                       legally binding agreements among the parties hereto, this Summary of Terms is not
                                       intended to create any legally binding obligation on either party, and no such
                                       obligation shall be created unless and until the Investors have completed satisfactory
                                       due diligence and the parties have entered into definitive written agreements
                                       evidencing such agreement as described above.


           The parties to this term sheet acknowledge their agreement to the terms contained herein.




           [Trans Island Airways Group]                                                  FTX Ventures
                    3/16/2022                                                          Amy Wu
           Date:                       , 2022



           Paul Francis Aranha
                     3/16/2022
           Date:                       , 2022




           1
               Note to Company: please confirm full legal corporate name.

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                                                                Terms of Investment

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           The parties to this term sheet acknowledge their agreement to the terms contained herein.




           [Trans Island Airways Group]                                                  FTX Ventures

           Date:                       , 2022



           Paul Francis Aranha

           Date:                       , 2022




           1
               Note to Company: please confirm full legal corporate name.

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